{INND Rev. 8/16}

  

UN|TED STATES D|STR|CT COURT
NORTHERN D|STR|CT OF lNDIANA

[Thisform is for prisoners to sue for civii rights violations NEATLY print in ink for type} your onswers.]

AY\Th<;il\‘i Wn"~gi\e, m I`Cc\o‘€ L l .

[You are the PLA!NT¢FF, print your fuii name on this iine.]

v. Case Number:i§ ; l B“CV°' ghi l
n a IFor a new case in this court, leave biank.
` g T _ QV ' v The court wiii assign a case number.}
[The DEFEN DANT is who you are saing. Put M name on
this iine. List M defendants below, inciading this one.]

[The top of this page is the caption. Eyerything you fiie in this case must have the same caption.
Once you know your case number, it is VERYIMPORTANTthat you include it an eve[ything you send
to the court for this case. DO NOT send more than one copy of anything to the court.]

PR|SONER CO|ViPLA|NT

 

 

 

 

 

 

 

# Defendant's Name and Job Tit|e Work Address
1 {Put the defendant na ed in the caption in this box.] L)J'€.S'T|J i U,€ 60 l‘ fCCTirO¥\G\L`E)C il J'Tf
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m|`. Sm)a‘€i' we$TWl\_(€iIA/-"-/é:);?ql
2 §Put the names of any other defendants in these boxes.] [,\)€.S`T\; ;lf€, (;@ [' [‘€CTKF'JII¢|L{QC;ZJETY
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_ ) _ esto;£le,J"/v. %3‘€1
3 5 @»;7: ARQ`\C}\ (\‘\ ij ' es‘?¥»~id'e COtl"€C'Tiana£/i`€ic;i )'Ff
~¥>Gc~h{ec S~S'OI S. /‘iaow
wes`i”wl['&,.j;~i, C/éS‘H

 

 

 

[if you are suing more defendants attach an additional page. Nurnber each defendantl Put the
name, job titie, and work address of each defendant in a separate box as shown here.]
l ¢’,

l. How many defendants are you suing?

 

2 What ls the name and address of your prison orjaii?‘
IDGC,~~\M£C t'§'§'oi § iii:)o w was relate _'ZA/ o/e;?<;/i
3. Did the event you are suing about happen there? @%s. 0 No, it happened at: ""

 

571 f ~7'&> o , Th{ `

4. On What date did this event occur?

iDO NOT write in the margins or on the back of any pages Attach additional pages if neeessary.]

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T/“)=ec:/ 753 file

 

(I`NND Rev. 3/16) page 2

CLA|l\/IS and FACTS

DO: Write a short and plain statement telling What each defendant did Wrong.
DO: Use simple Engilsh Words and sentences

DO NO'i': Quote from cases or statutes, use legal terms, or make legal arguments.
DO: Explain When, Where, Why, and how each defendant violated your rlghts.
DO: |nciude every fact necessary to expfain your case and describe your injuries or damages
DO: Number any documents you attach and refer to them by number in your complaint

DO NOT: include Social Security numbers, dates of birth, or the names ofminors.
DO: Use each defendant's name every time you refer to that defendant

DO: Number your paragraphs [The first paragraph has been numbered far you.]

 

 

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nunn REv. s,ae.) page 3

Claims and Facts (continued)

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(lNNo'Rev. 3/15) page 4

5. When did this event happen?
0 Before i Was confined.
O While i Was confined awaiting tria|.
After i Was convicted Whiie confined serving the sentence.
O Other:

 

6. l-lave you ever sued anyone for this exact same event?

@“No.

@ Yes, attached is a copy of the final judgment _(B an additional sheet listing the court,
case number, file date,iudgrnent date, and result of the previous case(s).

7. Couid you have used a prison grievance system to complain about this event?
0 No, this event did not happen in a prison orjaii.
O No, this event is not grievable at the prison orjaii Where lt occurred.
O Yes, | fiied a grievance and attached is a copy of the response from the final step.
Yes, this event Was grievable, 1 t .. ' ' ' ‘ ' 7 '

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lawyer suhmirrevl rTcar`rAi‘n 'rhe `73'111~¢ 1131/rs wllrl»z¢} f 077/07

8. if you win this case, What do you want the court to order the defendant(s) to do?
[NO TE.' A case filed on this form Will not overturn your conviction or change your release date.]

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llnitial Each Statement

AA iwiii pre-pay the tiiing fee gi fiie a prisoner motion to proceed in forma pauperis
M ivvi|i keep a copy of this complaint for my records.

AL iwill promptly notify the court of any change of address.

AL’}_ i declare under enalt of er'ur that the statements in this complaint are true.

f placed this complaint in the prison mail system on 72 /Q?_é/ZO 73 at 2 `(Q @/pm.

[Do notfili in this date and time until you give the complaint to prison ojj‘iciais to send to the court.]

ns MM §édaiéi

S§gn ture d Prisoner Number

 

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